
588 So.2d 39 (1991)
B.P., A Child, Petitioner,
v.
STATE of Florida, et al., Respondents.
No. 91-2097.
District Court of Appeal of Florida, Fifth District.
October 24, 1991.
Timothy Daniel, Asst. Public Defender, Holly Hill, for petitioner.
Robert A. Butterworth, Atty. Gen., Tallahassee, Anthony J. Golden, Asst. Atty. Gen., and Ellen D. Phillips, Asst. Dist. Legal Counsel, Daytona Beach, for respondents.
DIAMANTIS, Judge.
B.P. petitions for a writ of habeas corpus, contending that he can not be punished for indirect criminal contempt by incarceration in the juvenile detention center for his failure to comply with a court order. B.P. argues that section 39.043(1) of the Florida Statutes (1990) prohibits the use of a secure detention facility as a sanction for contempt, relying upon T.D.L. v. Chinault, 570 So.2d 1335 (Fla. 2d DCA 1990). We reject this argument and deny the petition for writ of habeas corpus. See A.A. v. Rolle, 580 So.2d 282 (Fla. 3d DCA 1991). See also In the Interest of T.S., 585 So.2d 498 (Fla. 1st DCA 1991); In the Interest of R.A., 575 So.2d 807 (Fla. 4th DCA 1991). We certify conflict with Chinault.
Petition Denied.
COBB and COWART, JJ., concur.
